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                                                                                                SGL1_0006



                            Lloyd’s Certificate

                            This Insurance is effected with certain Underwriters at Lloyd’s, London.
                            This Certificate is issued in accordance with the limited authorization granted to the
                            Correspondent by certain Underwriters at Lloyd's, London whose syndicate numbers and the
                            proportions underwritten by them can be ascertained from the office of the said Correspondent
                            (such Underwriters being hereinafter called "Underwriters") and in consideration of the
                            premium specified herein, Underwriters hereby bind themselves severally and not jointly, each
                            for his own part and not one for another, their Executors and Administrators.

                            The Assured is requested to read this Certificate, and if it is not correct, return it
                            immediately to the Correspondent for appropriate alteration.
                            All inquiries regarding this Certificate should be addressed to the following Correspondent:
                            Argenia LLC
                            11524 Fairview Road
                            Little Rock, AR 72212




SLC-3 (USA) NMA2868 (24/08/00) Printed by the Corporation of Lloyd's.




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                                                                                                        Ex. C-1
CERTIFICATE PROVISIONS
   Case 2:21-cv-00443-JDC-KK                                                  Document 36-8 Filed 02/06/23 Page 2 of 34 PageID #: 348
1.      Signature Required. This Certificate shall not be valid unless signed by the Correspondent on the attached Declaration Page.
                                                                                                                                                                            SGL1_0007
2.      Correspondent Not Insurer. The Correspondent is not an Insurer hereunder and neither is nor shall be liable for any loss or claim whatsoever.
        The Insurers hereunder are those Underwriters at Lloyd's, London whose syndicate numbers can be ascertained as hereinbefore set forth. As used
        in this Certificate "Underwriters" shall be deemed to include incorporated as well as unincorporated persons or entities that are Underwriters at
        Lloyd's, London.
3.      Cancellation. If this Certificate provides for cancellation and this Certificate is cancelled after the inception date, earned premium must be paid
        for the time the insurance has been in force.
4.      Service of Suit. It is agreed that in the event of the failure of Underwriters to pay any amount claimed to be due hereunder, Underwriters, at the
        request of the Assured, will submit to the jurisdiction of a Court of competent jurisdiction within the United States. Nothing in this Clause
        constitutes or should be understood to constitute a waiver of Underwriters' rights to commence an action in any Court of competent jurisdiction in
        the United States, to remove an action to a United States District Court, or to seek a transfer of a case to another Court as permitted by the laws of
        the United States or of any State in the United States. It is further agreed that service of process in such suit may be made upon the firm or person
        named in item 7 of the attached Declaration Page, and that in any suit instituted against any one of them upon this contract, Underwriters will
        abide by the final decision of such Court or of any Appellate Court in the event of an appeal.
        The above-named are authorized and directed to accept service of process on behalf of Underwriters in any such suit and/or upon request of the
        Assured to give a written undertaking to the Assured that they will enter a general appearance upon Underwriters' behalf in the event such a suit
        shall be instituted.
        Further, pursuant to any statute of any state, territory or district of the United States which makes provision therefor, Underwriters hereby
        designate the Superintendent, Commissioner or Director of Insurance or other officer specified for that purpose in the statute, or his successor or
        successors in office, as their true and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by
        or on behalf of the Assured or any beneficiary hereunder arising out of this contract of insurance, and hereby designate the above-mentioned as
        the person to whom the said officer is authorized to mail such process or a true copy thereof.
5.      Assignment. This Certificate shall not be assigned either in whole or in part without the written consent of the Correspondent endorsed hereon.
6.      Attached Conditions Incorporated. This Certificate is made and accepted subject to all the provisions, conditions and warranties set forth
        herein, attached or endorsed, all of which are to be considered as incorporated herein.
7.      Short Rate Cancellation. If the attached provisions provide for cancellation, the table below will be used to calculate the short rate proportion of
        the premium when applicable under the terms of cancellation.
Short Rate Cancellation Table For Term of One Year.

Days Insurance in            Per Cent of one year Days Insurance in         Per Cent of one year Days Insurance in          Per Cent of one year Days Insurance in          Per Cent of one year
Force                        Premium              Force                     Premium              Force                      Premium              Force                      Premium

         1................................. 5%    66 - 69.................................29%   154 - 156.................................53%   256 - 260.................................77%
         2................................. 6     70 - 73.................................30    157 - 160.................................54    261 - 264.................................78
  3-     4................................. 7     74 - 76.................................31    161 - 164.................................55    265 - 269.................................79
  5-     6................................. 8     77 - 80.................................32    165 - 167.................................56    270 - 273 ( 9 mos ) ................80
  7-     8................................. 9     81 - 83.................................33    168 - 171.................................57    274 - 278.................................81
  9-    10.................................10     84 - 87.................................34    172 - 175.................................58    279 - 282.................................82
 11 -   12.................................11     88 - 91 ( 3 mos ) ................35          176 - 178.................................59    283 - 287.................................83
 13 -   14.................................12     92 - 94.................................36    179 - 182 ( 6 mos ) ................60          288 - 291.................................84
 15 -   16.................................13     95 - 98.................................37    183 - 187.................................61    292 - 296.................................85
 17 -   18.................................14     99 - 102.................................38   188 - 191.................................62    297 - 301.................................86
 19 -   20.................................15    103 - 105.................................39   192 - 196.................................63    302 - 305 ( 10 mos ) ...............87
 21 -   22.................................16    106 - 109.................................40   197 - 200.................................64    306 - 310.................................88
 23 -   25.................................17    110 - 113.................................41   201 - 205.................................65    311 - 314.................................89
 26 -   29.................................18    114 - 116.................................42   206 - 209.................................66    315 - 319.................................90
 30 -   32 ( 1 mos ) ................19          117 - 120.................................43   210 - 214 ( 7 mos ) ................67          320 - 323.................................91
 33 -   36.................................20    121 - 124 ( 4 mos ) ................44         215 - 218.................................68    324 - 328.................................92
 37 -   40.................................21    125 - 127.................................45   219 - 223.................................69    329 - 332.................................93
 41 -   43.................................22    128 - 131.................................46   224 - 228.................................70    333 - 337 ( 11 mos ) ...............94
 44 -   47.................................23    132 - 135.................................47   229 - 232.................................71    338 - 342.................................95
 48 -   51.................................24    136 - 138.................................48   233 - 237.................................72    343 - 346.................................96
 52 -   54.................................25    139 - 142.................................49   238 - 241.................................73    347 - 351.................................97
 55 -   58.................................26    143 - 146.................................50   242 - 246 ( 8 mos ) ................74          352 - 355.................................98
 59 -   62 ( 2 mos ) ................27          147 - 149.................................51   247 - 250.................................75    356 - 360.................................99
 63 -   65.................................28    150 - 153 ( 5 mos ) ................52         251 - 255.................................76    361 - 365 ( 12 mos ) ...............100
Rules applicable to insurance with terms less than or more than one year:
A.         If insurance has been in force for one year or less, apply the short rate table for annual insurance to the full annual premium determined as for insurance
           written for a term of one year.
B.         If insurance has been in force for more than one year:
1.         Determine full annual premium as for insurance written for a term of one year.
2.         Deduct such premium from the full insurance premium, and on the remainder calculate the pro rata earned premium on the basis of the ratio of the length of
           time beyond one year the insurance has been in force to the length of time beyond one year for which the policy was originally written.
3.         Add premium produced in accordance with items (1) and (2) to obtain earned premium during full period insurance has been in force.

24/08/00
NMA2868




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     Case 2:21-cv-00443-JDC-KK Document 36-8 Filed 02/06/23 Page 3 of 34 PageID #: 349
                                                                                                              SGL1_0008
              This Declaration Page is attached to and forms part of Certificate provisions(Form SLC-3 USA NMA 2868)

 Certificate Reference No: ATR/D/161353                                     Authority Reference No: B0429BA1903514

 1.Name of Insured:                 EXCLUSIVE REAL ESTATE INVESTMENTS, LLC

   Mailing Address of Insured:      101 N. ENTERPRISE BLVD Insured Location:              101 N. ENTERPRISE BLVD
                                    LAKE CHARLES, LA 70601                                LAKE CHARLES, LA 70601



 2. Effective From:       22 February 2019              To:     22 February 2020      both days at 12:01 a.m. standard time


 3.Insurance to be effected with certain UNDERWRITERS AT LLOYD’S, LONDON 100%

 4.Terms and Conditions
   Please see attached for specific Policy limits, deductibles and coverages applicable to the certificate.

 COVERAGE                                                                COVERAGE PROVIDED                     PREMIUM
 Property                                                                     Yes                              $3,200.00
 Premises Liability                                                           No                                   $0.00
 Additional Coverage                                                      As Specified                             $0.00

                                                                              TOTAL PREMIUM                    $3,200.00
                                                                               Surplus Lines Tax                 $160.05
                                                                                      Policy Fee                 $100.00




                                                                                    TOTAL DUE                  $3,460.05

THIS POLICY IS SUBJECT TO CANCELLATION IF A SATISIFACTORY PHOTOGRAPH IS NOT RECEIVED WITHIN 30 DAYS OF BINDING.
IN ADDITION, WHERE BUILDING AND OTHER STRUCTURE VALUE COMBINED EXCEEDS $500,000, THIS POLICY IS SUBJECT TO
CANCELLATION IF A SATISFACTORY INSPECTION IS NOT RECEIVED WITHIN 30 DAYS OF BINDING

5. Retail Broker:       Kendrick Slan                                         By:
                        6554 Florida Blvd Ste 232
                        Baton Rouge, LA 70806


                                                                              Correspondent         Dated:28 February 2019




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                                                                                                                    Ex. C-1
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               This Declaration Page is attached to and forms part of Certificate provisions (Form SLC-3 USA NMA2868)
Certificate Reference No: ATR/D/161353                                Authority Reference No: B0429BA1903514


Property:


                                             Limit(s)                      Coverage                  Premium
Coverage A – Dwelling (Subject 80%           $250,000                  Basic Form – ACV
Coinsurance)                                                          Extended Coverage
Coverage B – Other Structures                $0                               No
Coverage C – Personal Property (ex-theft)    $15,000                          Yes
Coverage D – Fair Rental Value               $50,000                          Yes

Total Property                                                                                       $3,200.00

Additional Coverages:

                                             Limit(s)                     Coverage                    Premium
 Vandalism & Malicious Mischief              Full limit                       Yes
 Renovations                                 $0                        Description – N/A

Deductibles:

                                                                            Limit(s)
Wind and Hail Deductible per occurrence                                     $7,500
All Other Perils Deductible per occurrence                                  $2,500
Vandalism & Malicious Mischief Deductible per occurrence                    $2,500




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                                                                                                                       SGL1_0011
                            This Declaration Page is attached to and forms part of Certificate provisions (Form SLC-3 USA NMA2868)
Certificate Reference No: ATR/D/161353                                                                                                                Authority Reference No: B0429BA1903514

6.Forms and Endorsements:

LSW 546 Total or Constructive Loss
NMA 464 War and Civil War Exclusion Clause
NMA 1191 Radioactive Contamination Exclusion Clause – Physical Damage – Direct (U.S.A.)

Insurance Binder - Dwelling Property (Basic)
INVOICE New Policy
NMA2868 Lloyds Certificate (SLC-3 USA) - Dwelling Property (Basic)
DP 00 01 12 02 - Dwelling Property 1 Basic Form
ATR-2a Mold and Fungi Exclusion Clause
ATR-8 Renovations or Construction Work Operations Exclusion
ATR-30 Minimum Earned Premium Endorsement
ATR-35 Schedule of Underwriters
ATR-51 - Co-Insurance Clause
ATR-76a - Coverage E. (Other Coverages) Exclusion of Improvements, Alterations, Additions and World
Wide Coverage
ATR-91 Amendment to Description of Covered Personal Property
ATR-92 Pre Existing Damage Exclusion
ATR-115 Vandalism & Malicious Mischief Limitation Endorsement (Dwelling Property - Basic)
LSW 1001 - Several Liability Notice
LSW 1135b - Lloyds Privacy Statement
NMA 2915 - Electronic Data Endorsement B
NMA 1331 - Cancellation Clause
NMA 2340 - Seepage and Pollution and Contamination (Combined Clause)
NMA 2802 - Electronic Date Recognition Exclusion (EDRE)
NMA 2962 - Biological or Chemical Materials Exclusion
Form 1263.1 - Authorized Non-Admitted Affidavit
LMA3100 Sanction Limitation and Exclusion Clause



Additional Insured (none if blank)
Additional Other Interest Details
Mortgagee                                                                                                                             FIRST NATIONAL BANK OF LOUISIANA, 128 North Parkerson Avenue,
                                                                                                                                      CROWLEY, LA, 70526
___________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________

   Service of Suit:                                                                                                            In event of claim, please notify the following:
    Walker Wilcox Matousek LLP                                                                                                    Mclarens Young International
    One North Franklin Street, Suite 3200,                                                                                        augoldclaims@Mclarens.com
    Chicago, IL 60606-3610                                                                                                        1200 Roosevelt Road, Suite 206,
                                                                                                                                  Glen Ellyn, IL, 60137
                                                                                                                                  Phone: 630-409-1460 Fax: 630-953-6049
                                                                                                                                  Toll Free#: 1-844-268-0415




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                                                                                                      DWELLING
                                                                                                   DP 00 01 12 02

                  DWELLING PROPERTY 1 ñ BASIC FORM
AGREEMENT                                                          c. Other structures used in whole or in part for
We will provide the insurance described in this policy                commercial, manufacturing or farming pur-
in return for the premium and compliance with all                     poses. However, we do cover a structure
applicable provisions of this policy.                                 that contains commercial, manufacturing or
                                                                      farming property solely owned by you or a
DEFINITIONS                                                           tenant of the dwelling provided that such
In this policy, "you" and "your" refer to the "named                  property does not include gaseous or liquid
insured" shown in the Declarations and the spouse if a                fuel, other than fuel in a permanently in-
resident of the same household. "We," "us" and "our"                  stalled fuel tank of a vehicle or craft parked
refer to the Company providing this insurance.                        or stored in the structure; or
DEDUCTIBLE                                                         d. Gravemarkers, including mausoleums.
Unless otherwise noted in this policy, the following        C. Coverage C ñ Personal Property
deductible provision applies:                                  1. Covered Property
Subject to the policy limits that apply, we will pay only          We cover personal property, usual to the occu-
that part of the total of all loss payable that exceeds            pancy as a dwelling and owned or used by you
the deductible amount shown in the Declarations.                   or members of your family residing with you
COVERAGES                                                          while it is on the Described Location. After a
This insurance applies to the Described Location,                  loss and at your request, we will cover personal
Coverages for which a Limit of Liability is shown and              property owned by a guest or servant while the
Perils Insured Against for which a Premium is stated.              property is on the Described Location.
A. Coverage A ñ Dwelling                                       2. Property Not Covered
   1. We cover:                                                    We do not cover:
       a. The dwelling on the Described Location                   a. Accounts, bank notes, bills, bullion, coins,
          shown in the Declarations, used principally                 currency, deeds, evidences of debt, gold
          for dwelling purposes, including structures                 other than goldware, letters of credit, manu-
          attached to the dwelling;                                   scripts, medals, money, notes other than
                                                                      bank notes, passports, personal records,
       b. Materials and supplies located on or next to                platinum other than platinumware, securi-
          the Described Location used to construct,                   ties, silver other than silverware, tickets,
          alter or repair the dwelling or other struc-                stamps, scrip, stored value cards and smart
          tures on the Described Location; and                        cards;
       c. If not otherwise covered in this policy,                 b. Animals, birds or fish;
          building equipment and outdoor equipment
          used for the service of and located on the               c. Aircraft meaning any contrivance used or
          Described Location.                                         designed for flight including any parts
                                                                      whether or not attached to the aircraft.
   2. We do not cover land, including land on which
      the dwelling is located.                                        We do cover model or hobby aircraft not
                                                                      used or designed to carry people or cargo;
B. Coverage B ñ Other Structures
                                                                   d. Hovercraft and parts. Hovercraft means a
   1. We cover other structures on the Described                      self-propelled motorized ground effect vehi-
      Location, set apart from the dwelling by clear                  cle and includes, but is not limited to, flare-
      space. This includes structures connected to                    craft and air cushion vehicles;
      the dwelling by only a fence, utility line or simi-
      lar connection.                                              e. Motor vehicles or all other motorized land
                                                                      conveyances.
   2. We do not cover:
                                                                     (1) This includes:
       a. Land, including land on which the other
          structures are located;                                          (a) Their accessories, equipment and
                                                                               parts; or
       b. Other structures rented or held for rental to
          any person not a tenant of the dwelling, un-
          less used solely as a private garage;



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              (b) Any device or instrument for the            D. Coverage D ñ Fair Rental Value
                  transmitting, recording, receiving or          1. If a loss to property described in Coverage A, B
                  reproduction of sound or pictures                 or C by a Peril Insured Against under this policy
                  which is operated by power from the               makes that part of the Described Location
                  electrical system of motor vehicles               rented to others or held for rental by you unfit
                  and all other motorized land convey-              for its normal use, we cover the fair rental value
                  ances, and its accessories. Accesso-              of that part of the Described Location rented to
                  ries include antennas, tapes, wires,              others or held for rental by you less any ex-
                  records, discs or other media that                penses that do not continue while that part of
                  can be used with any device or in-                the Described Location rented or held for rental
                  strument described above.                         is not fit to live in.
              The exclusion of property described in                 Payment will be for the shortest time required
              Paragraphs (a) and (b) above applies                   to repair or replace that part of the Described
              only while such property is in or upon the             Location rented or held for rental.
              vehicle or conveyance.
                                                                 2. If a civil authority prohibits you from use of the
        (2) We do cover motor vehicles or other                     Described Location as a result of direct dam-
            motorized land conveyances not re-                      age to a neighboring location by a Peril Insured
            quired to be registered for use on public               Against in this policy, we cover the Fair Rental
            roads or property which are:                            Value loss for no more than two weeks.
              (a) Used solely to service the Described           3. The periods of time referenced above are not
                  Location; or                                      limited by the expiration of this policy.
              (b) Designed to assist the handicapped;            4. We do not cover loss or expense due to can-
      f. Watercraft of all types, other than rowboats               cellation of a lease or agreement.
         and canoes;                                          E. Other Coverages
      g. Data, including data stored in:                         1. Other Structures
        (1) Books of account, drawings or other                      You may use up to 10% of the Coverage A limit
            paper records; or                                        of liability for loss by a Peril Insured Against to
        (2) Computers and related equipment;                         other structures described in Coverage B.
         We do cover the cost of blank recording or                  Payment under this coverage reduces the Cov-
         storage media, and of prerecorded com-                      erage A limit of liability by the amount paid for
         puter programs available on the retail mar-                 the same loss.
         ket;                                                    2. Debris Removal
      h. Credit cards, electronic fund transfer cards                We will pay your reasonable expense for the
         or access devices used solely for deposit,                  removal of:
         withdrawal or transfer of funds; or
                                                                     a. Debris of covered property if a Peril Insured
       i. Water or steam; or                                            Against causes the loss; or
       j. Gravemarkers, including mausoleums.                        b. Ash, dust or particles from a volcanic erup-
   3. Property Removed To A Newly Acquired                              tion that has caused direct loss to a building
      Principle Residence                                               or property contained in a building.
      If you remove personal property from the De-                   This expense is included in the limit of liability
      scribed Location to a newly acquired principal                 that applies to the damaged property.
      residence, the Coverage C limit of liability will          3. Improvements, Alterations And Additions
      apply at each residence for the 30 days imme-
      diately after you begin to move the property                   If you are a tenant of the Described Location,
      there. This time period will not extend beyond                 you may use up to 10% of the Coverage C limit
      the termination of this policy. Our liability is lim-          of liability for loss by a Peril Insured Against to
      ited to the proportion of the limit of liability that          improvements, alterations and additions, made
      the value at each residence bears to the total                 or acquired at your expense, to that part of the
      value of all personal property covered by this                 Described Location used only by you.
      policy.                                                        Payment under this coverage reduces the Cov-
                                                                     erage C limit of liability by the amount paid for
                                                                     the same loss.




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   4. World-Wide Coverage                                      8. Fire Department Service Charge
      You may use up to 10% of the Coverage C limit                We will pay up to $500 for your liability as-
      of liability for loss by a Peril Insured Against to          sumed by contract or agreement for fire de-
      property covered under Coverage C while any-                 partment charges incurred when the fire de-
      where in the world. This coverage does not ap-               partment is called to save or protect covered
      ply to property of guests or servants or to row-             property from a Peril Insured Against. We do
      boats or canoes.                                             not cover fire department service charges if the
      Payment under this coverage reduces the Cov-                 property is located within the limits of the city,
      erage C limit of liability by the amount paid for            municipality or protection district furnishing the
      the same loss.                                               fire department response.
   5. Rental Value                                                 This coverage is additional insurance. No de-
                                                                   ductible applies to this coverage.
      You may use up to 20% of the Coverage A limit
      of liability for loss of fair rental value as de-     PERILS INSURED AGAINST
      scribed in Coverage D. We will pay only 1/12 of       We insure for direct physical loss to the property cov-
      this 20% for each month the rented part of the        ered caused by a peril listed below unless the loss is
      Described Location is unfit for its normal use.       excluded in the General Exclusions.
      Payment under this coverage reduces the Cov-          1A. Fire Or Lightning
      erage A limit of liability by the amount paid for     1B. Internal Explosion
      the same loss.
                                                               a. Internal Explosion means explosion occurring
   6. Reasonable Repairs                                          in the dwelling or other structure covered on the
      a. In the event that covered property is dam-               Described Location or in a structure containing
         aged by a Peril Insured Against, we will pay             personal property covered.
         the reasonable cost incurred by you for               b. Explosion does not mean:
         necessary measures taken solely to protect
         against further damage.                                  (1) Electric arcing;
      b. If the measures taken involve repair to other            (2) Breakage of water pipes; or
         damaged property, we will pay for those                  (3) Breakage or operation of pressure relief
         measures only if that property is covered                    devices.
         under this policy and the damage to that              This peril does not include loss by explosion of
         property is caused by a Peril Insured                 steam boilers, or steam pipes, if owned or leased
         Against. This coverage does not:                      by you or operated under your control.
        (1) Increase the limit of liability that applies    When a Premium for Extended Coverage is shown
            to the covered property; or                     in the Declarations, Perils 2. through 8. are made
        (2) Relieve you of your duties, in case of a        part of Perils Insured Against.
            loss to covered property, as set forth in       2. Windstorm Or Hail
            Condition D.2.
                                                               This peril does not include loss:
   7. Property Removed
                                                               a. To the inside of a building or the property con-
      We insure covered property against direct loss              tained in a building caused by rain, snow, sleet,
      from any cause while being removed from a                   sand or dust unless the direct force of wind or
      premises endangered by a Peril Insured                      hail damages the building causing an opening
      Against and for no more than 5 days while re-               in a roof or wall and the rain, snow, sleet, sand
      moved.                                                      or dust enters through this opening; or
      This coverage does not change the limit of li-           b. To the following property when outside of the
      ability that applies to the property being re-              building:
      moved.
                                                                  (1) Awnings, signs, radio or television antennas
                                                                      or aerials including lead-in wiring, masts or
                                                                      towers; or




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                                                                                             SGL1_0015

     (2) Canoes and rowboats.                              GENERAL EXCLUSIONS
3. Explosion                                               A. We do not insure for loss caused directly or indi-
   This peril does not include loss by explosion of           rectly by any of the following. Such loss is ex-
   steam boilers or steam pipes, if owned or leased           cluded regardless of any other cause or event
   by you or operated under your control.                     contributing concurrently or in any sequence to the
                                                              loss. These exclusions apply whether or not the
   Explosion does not mean:                                   loss event results in widespread damage or affects
   a. Electric arcing;                                        a substantial area.
   b. Breakage of water pipes; or                             1. Ordinance Or Law
   c. Breakage or operation of pressure relief de-                Ordinance Or Law means any ordinance or
      vices.                                                      law:
   This peril replaces Peril 1B.                                  a. Requiring or regulating the construction,
4. Riot Or Civil Commotion                                           demolition, remodeling, renovation or repair
                                                                     of property, including removal of any result-
5. Aircraft                                                          ing debris.
   This peril includes self-propelled missiles and                b. The requirements of which result in a loss in
   spacecraft.                                                       value to property; or
6. Vehicles                                                       c. Requiring you or others to test for, monitor,
   This peril does not include loss caused by:                       clean up, remove, contain, treat, detoxify or
                                                                     neutralize, or in any way respond to, or as-
   a. A vehicle owned or operated by you or a resi-
                                                                     sess the effects of, pollutants.
      dent of the Described Location; or
                                                                     Pollutants means any solid, liquid, gaseous
   b. Any vehicle to fences, driveways and walks.
                                                                     or thermal irritant or contaminant, including
7. Smoke                                                             smoke, vapor, soot, fumes, acids, alkalis,
   This peril means sudden and accidental damage                     chemicals and waste. Waste includes mate-
   from smoke, including the emission or puffback of                 rials to be recycled, reconditioned or re-
   smoke, soot, fumes or vapors from a boiler, fur-                  claimed.
   nace or related equipment.                                     This Exclusion A.1. applies whether or not the
   This peril does not include loss caused by smoke               property has been physically damaged.
   from fireplaces or from agricultural smudging or           2. Earth Movement
   industrial operations.
                                                                  Earth Movement means:
8. Volcanic Eruption
                                                                  a. Earthquake, including land shock waves or
   This peril does not include loss caused by earth-                 tremors before, during or after a volcanic
   quake, land shock waves or tremors.                               eruption;
When a Premium for Vandalism Or Malicious Mis-                    b. Landslide, mudslide or mudflow;
chief is shown in the Declarations, the following is
                                                                  c. Subsidence or sinkhole; or
made part of Perils Insured Against.
                                                                  d. Any other earth movement including earth
9. Vandalism Or Malicious Mischief
                                                                     sinking, rising or shifting;
   This peril does not include loss:
                                                                  caused by or resulting from human or animal
   a. To glass or safety glazing material constituting            forces or any act of nature unless direct loss by
      a part of the building other than glass building            fire or explosion ensues and then we will pay
      blocks;                                                     only for the ensuing loss.
   b. By pilferage, theft, burglary or larceny, but we        3. Water Damage
      will be liable for damage to the building covered
                                                                  Water Damage means:
      caused by burglars; or
                                                                  a. Flood, surface water, waves, tidal water,
   b. To property on the Described Location, and any
                                                                     overflow of a body of water or spray from
      ensuing loss caused by any intentional and
                                                                     any of these, whether or not driven by wind;
      wrongful act committed in the course of the
      vandalism or malicious mischief, if the dwelling            b. Water or water-borne material which backs
      has been vacant for more than 60 consecutive                   up through sewers or drains or which over-
      days immediately before the loss. A dwelling                   flows or is discharged from a sump, sump
      being constructed is not considered vacant.                    pump or related equipment; or




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      c. Water or water-borne material below the                    This exclusion does not apply to such acts or-
         surface of the ground, including water which               dered by any governmental or public authority
         exerts pressure on or seeps or leaks                       that are taken at the time of a fire to prevent its
         through a building, sidewalk, driveway,                    spread, if the loss caused by fire would be cov-
         foundation, swimming pool or other struc-                  ered under this policy.
         ture;                                               B. We do not cover loss to lawns, plants, shrubs or
      caused by or resulting from human or animal               trees outside of buildings.
      forces or any act of nature.                           CONDITIONS
      Direct loss by fire or explosion resulting from        A. Policy Period
      water damage is covered.
                                                                This policy applies only to loss which occurs during
   4. Power Failure                                             the policy period.
      Power Failure means the failure of power or            B. Insurable Interest And Limit Of Liability
      other utility service if the failure takes place off
      the Described Location. But if the failure of             Even if more than one person has an insurable
      power or other utility service results in a loss,         interest in the property covered, we will not be li-
      from a Peril Insured Against on the Described             able in any one loss:
      Location, we will pay for the loss caused by that         1. For an amount greater than the interest of a
      Peril Insured Against.                                       person insured under this policy at the time of
   5. Neglect                                                      loss; or
      Neglect means your neglect to use all reason-             2. For more than the applicable limit of liability.
      able means to save and preserve property at            C. Concealment Or Fraud
      and after the time of a loss.                             We provide coverage to no persons insured under
   6. War                                                       this policy if, whether before or after a loss, one or
      War includes the following and any conse-                 more persons insured under this policy have:
      quence of any of the following:                           1. Intentionally concealed or misrepresented any
      a. Undeclared war, civil war, insurrection,                  material fact or circumstance;
         rebellion or revolution;                               2. Engaged in fraudulent conduct; or
      b. Warlike act by a military force or military            3. Made false statements;
         personnel;                                             relating to this insurance.
      c. Destruction or seizure or use for a military        D. Duties After Loss
         purpose.
                                                                In case of a loss to covered property, we have no
      Discharge of a nuclear weapon will be deemed              duty to provide coverage under this policy if the
      a warlike act even if accidental.                         failure to comply with the following duties is preju-
   7. Nuclear Hazard                                            dicial to us. These duties must be performed either
      This Exclusion 7. pertains to Nuclear Hazard to           by you or your representative:
      the extent set forth in the Nuclear Hazard                1. Give prompt notice to us or our agent;
      Clause of the Conditions.                                 2. Protect the property from further damage. If
   8. Intentional Loss                                             repairs to the property are required, you must:
      Intentional Loss means any loss arising out of                a. Make reasonable and necessary repairs to
      any act you or any person or organization                        protect the property; and
      named as an additional insured commits or                     b. Keep an accurate record of repair ex-
      conspires to commit with the intent to cause a                   penses;
      loss.
                                                                3. Cooperate with us in the investigation of a
      In the event of such loss, neither you nor any               claim;
      such person or organization is entitled to cov-
      erage, even those who did not commit or con-              4. Prepare an inventory of damaged personal
      spire to commit the act causing the loss.                    property showing the quantity, description, ac-
                                                                   tual cash value and amount of loss. Attach all
   9. Governmental Action                                          bills, receipts and related documents that justify
      Governmental Action means the destruction,                   the figures in the inventory;
      confiscation or seizure of property described in          5. As often as we reasonably require:
      Coverage A, B or C by order of any govern-
      mental or public authority.                                   a. Show the damaged property;




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      b. Provide us with records and documents we           H. Appraisal
         request and permit us to make copies; and             If you and we fail to agree on the amount of loss,
      c. Submit to examination under oath, while not           either may demand an appraisal of the loss. In this
         in the presence of another named insured,             event, each party will choose a competent and im-
         and sign the same;                                    partial appraiser within 20 days after receiving a
   6. Send to us, within 60 days after our request,            written request from the other. The two appraisers
      your signed, sworn proof of loss which sets              will choose an umpire. If they cannot agree upon
      forth to the best of your knowledge and belief:          an umpire within 15 days, you or we may request
                                                               that the choice be made by a judge of a court of
      a. The time and cause of loss;                           record in the state where the Described Location is
      b. Your interest and that of all others in the           located. The appraisers will separately set the
         property involved and all liens on the prop-          amount of loss. If the appraisers submit a written
         erty;                                                 report of an agreement to us, the amount agreed
      c. Other insurance which may cover the loss;             upon will be the amount of loss. If they fail to
                                                               agree, they will submit their differences to the um-
      d. Changes in title or occupancy of the prop-            pire. A decision agreed to by any two will set the
         erty during the term of the policy;                   amount of loss.
      e. Specifications of damaged buildings and               Each party will:
         detailed repair estimates;
                                                               1. Pay its own appraiser; and
       f. The inventory of damaged personal prop-
          erty described in Paragraph D.3.;                    2. Bear the other expenses of the appraisal and
                                                                  umpire equally.
      g. Receipts for additional living expenses
         incurred and records that support the fair          I. Other Insurance And Service Agreement
         rental value loss.                                    If property covered by this policy is also covered
E. Loss Settlement                                             by:
   Covered property losses are settled at actual cash          1. Other fire insurance, we will pay only the pro-
   value at the time of loss but not more than the                portion of a loss caused by any peril insured
   amount required to repair or replace the damaged               against under this policy that the limit of liability
   property.                                                      applying under this policy bears to the total
                                                                  amount of fire insurance covering the property;
F. Loss To A Pair Or Set                                          or
   In case of loss to a pair or set we may elect to:           2. A service agreement, this insurance is excess
   1. Repair or replace any part to restore the pair or           over any amounts payable under any such
      set to its value before the loss; or                        agreement. Service agreement means a serv-
                                                                  ice plan, property restoration plan, home war-
   2. Pay the difference between actual cash value
                                                                  ranty or other similar service warranty agree-
      of the property before and after the loss.
                                                                  ment, even if it is characterized as insurance.
G. Glass Replacement
                                                            J. Subrogation
   Loss for damage to glass caused by a Peril In-
                                                               You may waive in writing before a loss all rights of
   sured Against will be settled on the basis of re-
                                                               recovery against any person. If not waived, we
   placement with safety glazing materials when re-
                                                               may require an assignment of rights of recovery for
   quired by ordinance or law.
                                                               a loss to the extent that payment is made by us.
                                                               If an assignment is sought, the person insured
                                                               must sign and deliver all related papers and coop-
                                                               erate with us.
                                                            K. Suit Against Us
                                                               No action can be brought against us unless there
                                                               has been full compliance with all of the terms un-
                                                               der this policy and the action is started within two
                                                               years after the date of loss.




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L. Our Option                                                     b. At our option, we may pay to the mortgagee
   If we give you written notice within 30 days after                the whole principal on the mortgage plus
   we receive your signed, sworn proof of loss, we                   any accrued interest. In this event, we will
   may repair or replace any part of the damaged                     receive a full assignment and transfer of the
   property with material or property of like kind and               mortgage and all securities held as collat-
   quality.                                                          eral to the mortgage debt.
M. Loss Payment                                               5. Subrogation will not impair the right of the
                                                                 mortgagee to recover the full amount of the
   We will adjust all losses with you. We will pay you           mortgagee's claim.
   unless some other person is named in the policy or
   is legally entitled to receive payment. Loss will be    P. No Benefit To Bailee
   payable 60 days after we receive your proof of loss        We will not recognize any assignment or grant any
   and:                                                       coverage that benefits a person or organization
   1. Reach an agreement with you;                            holding, storing or moving property for a fee re-
                                                              gardless of any other provision of this policy.
   2. There is an entry of a final judgment; or
                                                           Q. Cancellation
   3. There is a filing of an appraisal award with us.
                                                              1. You may cancel this policy at any time by re-
N. Abandonment Of Property                                       turning it to us or by letting us know in writing of
   We need not accept any property abandoned by                  the date cancellation is to take effect.
   you.                                                       2. We may cancel this policy only for the reasons
O. Mortgage Clause                                               stated below by letting you know in writing of
   1. If a mortgagee is named in this policy, any loss           the date cancellation takes effect. This cancel-
      payable under Coverage A or B will be paid to              lation notice may be delivered to you, or mailed
      the mortgagee and you, as interests appear. If             to you at your mailing address shown in the
      more than one mortgagee is named, the order                Declarations. Proof of mailing will be sufficient
      of payment will be the same as the order of                proof of notice.
      precedence of the mortgages.                                a. When you have not paid the premium, we
   2. If we deny your claim, that denial will not apply              may cancel at any time by letting you know
      to a valid claim of the mortgagee, if the mort-                at least 10 days before the date cancellation
      gagee:                                                         takes effect.
      a. Notifies us of any change in ownership,                  b. When this policy has been in effect for less
         occupancy or substantial change in risk of                  than 60 days and is not a renewal with us,
         which the mortgagee is aware;                               we may cancel for any reason by letting you
                                                                     know at least 10 days before the date can-
      b. Pays any premium due under this policy on                   cellation takes effect.
         demand if you have neglected to pay the
         premium; and                                             c. When this policy has been in effect for 60
                                                                     days or more, or at any time if it is a renewal
      c. Submits a signed, sworn statement of loss                   with us, we may cancel:
         within 60 days after receiving notice from us
         of your failure to do so. Policy conditions                (1) If there has been a material misrepre-
         relating to Paragraphs G. Appraisal, J. Suit                   sentation of fact which if known to us
         Against Us and L. Loss Payment also apply                      would have caused us not to issue the
         to the mortgagee.                                              policy; or
   3. If we decide to cancel or not to renew this pol-              (2) If the risk has changed substantially
      icy, the mortgagee will be notified at least 10                   since the policy was issued.
      days before the date cancellation or nonrene-                  This can be done by letting you know at
      wal takes effect.                                              least 30 days before the date cancellation
   4. If we pay the mortgagee for any loss and deny                  takes effect.
      payment to you:                                             d. When this policy is written for a period of
      a. We are subrogated to all the rights of the                  more than one year, we may cancel for any
         mortgagee granted under the mortgage on                     reason at anniversary by letting you know at
         the property; or                                            least 30 days before the date cancellation
                                                                     takes effect.




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   3. When this policy is canceled, the premium for           2. With respect to your property, the person hav-
      the period from the date of cancellation to the            ing proper temporary custody of the property
      expiration date will be refunded pro rata.                 until appointment and qualification of a legal
   4. If the return premium is not refunded with the             representative.
      notice of cancellation or when this policy is re-    W. Nuclear Hazard Clause
      turned to us, we will refund it within a reason-        1. "Nuclear Hazard" means any nuclear reaction,
      able time after the date cancellation takes ef-            radiation or radioactive contamination, all
      fect.                                                      whether controlled or uncontrolled or however
R. Nonrenewal                                                    caused, or any consequence of any of these.
   We may elect not to renew this policy. We may do           2. Loss caused by the nuclear hazard will not be
   so by delivering to you, or mailing to you at your            considered loss caused by fire, explosion or
   mailing address shown in the Declarations, written            smoke, whether these perils are specifically
   notice at least 30 days before the expiration date            named in or otherwise included within the Perils
   of this policy. Proof of mailing will be sufficient           Insured Against.
   proof of notice.                                           3. This policy does not apply to loss caused di-
S. Liberalization Clause                                         rectly or indirectly by nuclear hazard, except
   If we make a change which broadens coverage                   that direct loss by fire resulting from the nuclear
   under this edition of our policy without additional           hazard is covered.
   premium charge, that change will automatically          X. Recovered Property
   apply to your insurance as of the date we imple-           If you or we recover any property for which we
   ment the change in your state, provided that this          have made payment under this policy, you or we
   implementation date falls within 60 days prior to or       will notify the other of the recovery. At your option,
   during the policy period stated in the Declarations.       the property will be returned to or retained by you
   This Liberalization Clause does not apply to               or it will become our property. If the recovered
   changes implemented with a general program re-             property is returned to or retained by you, the loss
   vision that includes both broadenings and restric-         payment will be adjusted based on the amount you
   tions in coverage, whether that general program            received for the recovered property.
   revision is implemented through introduction of:        Y. Volcanic Eruption Period
   1. A subsequent edition of this policy; or                 One or more volcanic eruptions that occur within a
   2. An amendatory endorsement.                              72-hour period will be considered as one volcanic
T. Waiver Or Change Of Policy Provisions                      eruption.
   A waiver or change of a provision of this policy        Z. Loss Payable Clause
   must be in writing by us to be valid. Our request for      If the Declarations show a loss payee for certain
   an appraisal or examination will not waive any of          listed insured personal property, that person is
   our rights.                                                considered an insured in this policy with respect to
U. Assignment                                                 that property.
   Assignment of this policy will not be valid unless         If we decide to cancel or not renew this policy, that
   we give our written consent.                               loss payee will be notified in writing.
V. Death
   If you die, we insure:
   1. Your legal representatives but only with respect
      to the property of the deceased covered under
      the policy at the time of death;




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                           MOLD AND FUNGI EXCLUSION CLAUSE


  Notwithstanding any other provision in this policy, there is no coverage for any loss or damage
  involving in any way the actual or potential presence of mold, mildew or fungi of any kind
  whatsoever, whether or not directly or indirectly caused by or resulting from an insured peril.


  The following additional exclusion applies to Section 2 - Liability (to the extent such coverage is
  provided under this policy as shown on the Declaration):

     For any Bodily Injury, Property Damage or Medical Payment claim of any kind directly or
     indirectly relating to the actual, potential, alleged or threatened presence of mold, mildew or
     fungi of any kind whatsoever.

                 We will not defend any Insured with respect to any claim or “suit” seeking such
                 damages.

                 We will not pay for any loss, cost or expense that any Insured may incur in testing
                 for,
                 monitoring, removing, treating or in any way responding to the actual, potential,
                 alleged or
                 threatened presence of mold, mildew or fungi of any kind whatsoever.




  ATR-2a
  10/2009




                                                                                             Ex. C-1
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                                                                                    SGL1_0021


        RENOVATION OR CONSTRUCTION WORK OPERATIONS EXCLUSION


     The following additional exclusion applies to Section 1 – Property:

     In consideration of the premium charged, it is understood and agreed that no coverage is
     available for any loss or damage directly or indirectly arising out of or relating to any
     construction, renovation, remodelling or repairs being performed at or upon the insured
     premises during the period of this policy.


     The following additional exclusion applies to Section 2 – Liability (to the extent such
     coverage is provided under this policy as shown on the Declarations):

     In consideration of the premium charged, it is understood and agreed that that no coverage
     is available for claims for Bodily Injury, Property Damage or Medical Payments directly or
     indirectly arising out of or relating to any construction, renovation, remodelling or repairs
     being performed at or upon the insured premises during the period of this policy.



     ALL OTHER TERMS AND CONDITIONS TO THIS POLICY REMAIN UNCHANGED

     ATR-8
     12/2005




                                                                                            Ex. C-1
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                                                                                     SGL1_0022


                     MINIMUM EARNED PREMIUM ENDORSEMENT


     In consideration of the premium charged, it is understood and agreed that if this policy is
     cancelled by the Insured after the inception date, the minimum earned premium for this
     policy is 25.00% of the total premium without any short rate or pro rata adjustment.

     It is further understood and agreed that cancellation of the policy for non-payment of
     premium after the inception date shall be deemed a cancellation of the policy by the
     Insured for purposes of this endorsement.

     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN
     UNCHANGED.


     ATR-30
     10/2004




                                                                                              Ex. C-1
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                                                                   SGL1_0023



      POLICY NUMBER: ATR/D/161353



                              Schedule of Underwriters


                      Certain Underwriter’s at Lloyd’s, London


                                    100% Syndicate 609




           ATR-35
           09/2016




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                                                                                                     SGL1_0024




                                           CO-INSURANCE CLAUSE


    It is hereby made a condition of this Policy that the Assured shall at all times maintain Insurance
    equivalent to 80% of the actual value of the property insured hereby, and that failing so to do shall be his
    or her own insurer to the extent of any deficit and bear a rateable proportion of any loss accordingly.


    ATR-51
    05/2005




                                                                                                              Ex. C-1
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                                                                                  SGL1_0025


      COVERAGE E. (OTHER COVERAGES) EXCLUSION OF IMPROVEMENTS,
          ALTERATIONS, ADDITIONS AND WORLD WIDE COVERAGE



     In consideration of the premium charged, it is understood and agreed that the following
     are deleted in their entirety.

     E. Other Coverages

            3. Improvements, Alterations and Additions
            4. World-Wide Coverage


     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN
     UNCHANGED.


     ATR-76a
     10/2009




                                                                                          Ex. C-1
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                                                                                      SGL1_0026


                Amendment to Description of Covered Personal Property

         It is understood and agreed that COVERAGES C. Coverage C – Personal Property
         1. Covered Property is deleted and replaced with:

         We cover personal property, usual to the occupancy as a rented or seasonal dwelling,
         and owned by you, while it is on the Described Location.

         ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED


         ATR-91
         07/2013




                                                                                                Ex. C-1
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                                                                                   SGL1_0027

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                 CAREFULLY.



                     Pre-Existing Damage Exclusion

    DWELLING PROPERTY

    The following is added to the GENERAL EXCLUSIONS:

       We do not insure for loss caused directly or indirectly by any of the following:

       a) Any damage which occurred prior to policy inception regardless of whether such
          damage were apparent at the time of the inception of this policy or at a later date;
          or
       b) Any claims or damages arising out of workmanship, repairs and/or lack of repairs
          arising from damage which occurred prior to policy inception.

       Such loss is excluded regardless of any other cause or event contributing concurrently
       or in any sequence to the loss.


    PERSONAL LIABILITY

    The following is added to the EXCLUSIONS section of the PERSONAL LIABILITY
    coverage form (to the extent such coverage is provided under this policy as shown on the
    Declarations):

       Coverage L-Personal Liability and Coverage M-Medical Payments to Others do
       not apply to "bodily injury" or "property damage" or “medical payments” arising out of
       and/or relating to any of the following:

       a) Any damage which occurred prior to policy inception regardless of whether such
          damage were apparent at the time of the inception of this policy or at a later date;
          or
       b) Any claims or damages arising out of workmanship, repairs and/or lack of repairs
          arising from damage which occurred prior to policy inception.


    ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN
    UNCHANGED.




    ATR-92
    09 2017



                                                                                           Ex. C-1
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                                                                                   SGL1_0028


   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



           Vandalism & Malicious Mischief Limitation
                        Endorsement –
                   (Dwelling Property - Basic)

  Vandalism & Malicious Mischief Sublimit:Full limit
  Vandalism & Malicious Mischief deductible per occurrence is restated as $2,500

  In consideration of the premium charged, it is understood and agreed that coverage is afforded
  hereunder for direct physical loss or damage caused by Vandalism or Malicious Mischief which
  is defined to mean wilful and malicious damage to the insured building(s). The sublimit shown
  above is the most we will pay for direct physical loss caused by Vandalism or Malicious
  Mischief. Vandalism or Malicious Mischief does not include the following:

     •   Loss or damage to glass or safety glazing material; or

     •   Loss or damage caused by theft of any kind; however, coverage will be afforded for
         physical loss or damage to the insured building(s) (other than to glass or safety glazing
         material) caused by the breaking in or exiting of burglars.

  This coverage is subject to the following additional condition:

             •   Any loss or damage caused by Vandalism or Malicious Mischief must be reported
                 to Underwriters within ten (10) days after the Insured first learns of the loss or
                 damage.


  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.


  ATR-115
  09/2012




                                                                                           Ex. C-1
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                                                                                                             SGL1_0029

                                                   SEVERAL LIABILITY NOTICE

The subscribing insurers' obligations under contracts of insurance to which they subscribe are several and not joint and are limited
solely to the extent of their individual subscriptions. The subscribing insurers are not responsible for the subscription of any co-
subscribing insurer who for any reason does not satisfy all or part of its obligations.

08/94
LSW1001 (Insurance)
__________________________________________________________________________________________________________

                                            TOTAL OR CONSTRUCTIVE TOTAL LOSS

It is hereby understood and agreed that in the event of a Total or Constructive Total Loss of any item of property insured during the
Period of Insurance specified in the Schedule and the loss is paid by Underwriters then the total premium for that property shall be
considered to be fully earned.

This Endorsement shall not apply where State Law or any Premium Finance Agreement would be violated or infringed.

Constructive Total Loss shall be defined as "loss where the cost of recovery and repair would exceed the Limit of Liability shown in the
Schedule or the actual cash value (whichever is the lesser amount)".

01/93
LSW546
__________________________________________________________________________________________________________

                                          WAR AND CIVIL WAR EXCLUSION CLAUSE

                                     (Approved by Lloyd's Underwriters' Non-Marine Association)

Notwithstanding anything to the contrary contained herein this Policy does not cover Loss or Damage directly or indirectly occasioned
by, happening through or in consequence of war, invasion, acts of foreign enemies, hostilities (whether war be declared or not), civil
war, rebellion, revolution, insurrection, military or usurped power or confiscation or nationalisation or requisition or destruction of or
damage to property by or under the order of any government or public or local authority.

1/1/38
NMA464
____________________________________________________________________________________________________________

                                  RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE -
                                         PHYSICAL DAMAGE - DIRECT (U.S.A.)

This Policy does not cover any loss or damage arising directly or indirectly from nuclear reaction nuclear radiation or radioactive
contamination however such nuclear reaction nuclear radiation or radioactive contamination may have been caused *
NEVERTHELESS if Fire is an insured peril and a Fire arises directly or indirectly from nuclear reaction nuclear radiation or
radioactive contamination any loss or damage arising directly from that Fire shall (subject to the provisions of this Policy) be covered
EXCLUDING however all loss or damage caused by nuclear reaction nuclear radiation or radioactive contamination arising directly or
indirectly from that Fire.

* NOTE. - If Fire is not an insured peril under this Policy the words "NEVERTHELESS" to the end of the clause do not apply and
should be disregarded.

7/5/59
NMA1191




                                                                                                                      Ex. C-1
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                                   LLOYD'S PRIVACY POLICY STATEMENT


  UNDERWRITERS AT LLOYD'S, LONDON

  The Certain Underwriters at Lloyd's, London want you to know how we protect the confidentiality of your non-
  public personal information. We want you to know how and why we use and disclose the information that we have
  about you. The following describes our policies and practices for securing the privacy of our current and former
  customers.

  INFORMATION WE COLLECT

  The non-public personal information that we collect about you includes, but is not limited to:

  •   Information contained in applications or other forms that you submit to us, such as name, address, and social
      security number

  •   Information about your transactions with our affiliates or other third-parties, such as balances and payment
      history

  •   Information we receive from a consumer-reporting agency, such as credit-worthiness or credit history

  INFORMATION WE DISCLOSE

  We disclose the information that we have when it is necessary to provide our products and services. We may also
  disclose information when the law requires or permits us to do so.

  CONFIDENTIALITY AND SECURITY

  Only our employees and others who need the information to service your account have access to your personal
  information. We have measures in place to secure our paper files and computer systems.

                   RIGHT TO ACCESS OR CORRECT YOUR PERSONAL INFORMATION

  You have a right to request access to or correction of your personal information that is in our possession.

  CONTACTING US

  If you have any questions about this privacy notice or would like to learn more about how we protect your privacy,
  please contact the agent or broker who handled this insurance. We can provide a more detailed statement of our
  privacy practices upon request.


  06/03
  LSW1135B




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                             ELECTRONIC DATA ENDORSEMENT B


 1. Electronic Data Exclusion

    Notwithstanding any provision to the contrary within the Policy or any endorsement thereto, it is
    understood and agreed as follows:

    (a) This Policy does not insure loss, damage, destruction, distortion, erasure, corruption or
        alteration of ELECTRONIC DATA from any cause whatsoever (including but not limited to
        COMPUTER VIRUS) or loss of use, reduction in functionality, cost, expense of whatsoever
        nature resulting therefrom, regardless of any other cause or event contributing concurrently or
        in any other sequence to the loss.

       ELECTRONIC DATA means facts, concepts and information converted to a form useable for
       communications, interpretation or processing by electronic and electromechanical data
       processing or electronically controlled equipment and includes programmes, software and
       other coded instructions for the processing and manipulation of data or the direction and
       manipulation of such equipment.

       COMPUTER VIRUS means a set of corrupting, harmful or otherwise unauthorised
       instructions or code including a set of maliciously introduced unauthorised instructions or
       code, programmatic or otherwise, that propagate themselves through a computer system or
       network of whatsoever nature. COMPUTER VIRUS includes but is not limited to 'Trojan
       Horses', 'worms' and 'time or logic bombs'.

    (b) However, in the event that a peril listed below results from any of the matters described in
        paragraph (a) above, this Policy, subject to all its terms, conditions and exclusions, will cover
        physical damage occurring during the Policy period to property insured by this Policy directly
        caused by such listed peril.

       Listed Perils

       Fire
       Explosion




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2. Electronic Data Processing Media Valuation

   Notwithstanding any provision to the contrary within the Policy or any endorsement thereto, it is
   understood and agreed as follows:

   Should electronic data processing media insured by this Policy suffer physical loss or damage
   insured by this Policy, then the basis of valuation shall be the cost of the blank media plus the
   costs of copying the ELECTRONIC DATA from back-up or from originals of a previous
   generation. These costs will not include research and engineering nor any costs of recreating,
   gathering or assembling such ELECTRONIC DATA. If the media is not repaired, replaced or
   restored the basis of valuation shall be the cost of the blank media. However this Policy does not
   insure any amount pertaining to the value of such ELECTRONIC DATA to the Assured or any
   other party, even if such ELECTRONIC DATA cannot be recreated, gathered or assembled.


25/01/01
NMA2915




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                                                   CANCELLATION CLAUSE


         NOTWITHSTANDING anything contained in this Insurance to the contrary this Insurance may be cancelled by
         the Assured at any time by written notice or by surrendering of this Contract of Insurance. This Insurance may
         also be cancelled by or on behalf of the Underwriters by delivering to the Assured or by mailing to the Assured,
         by registered, certified or other first class mail, at the Assured's address as shown in this Insurance, written
         notice stating when, not less than 10 days thereafter, the cancellation shall be effective. The mailing of notice as
         aforesaid shall be sufficient proof of notice and this Insurance shall terminate at the date and hour specified in
         such notice.

         If this Insurance shall be cancelled by the Assured the Underwriters shall retain the customary short rate
         proportion of the premium hereon, except that if this Insurance is on an adjustable basis the Underwriters shall
         receive the Earned Premium hereon or the customary short rate proportion of any Minimum Premium stipulated
         herein whichever is the greater.

         If this Insurance shall be cancelled by or on behalf of the Underwriters the Underwriters shall retain the pro rata
         proportion of the premium hereon, except that if this Insurance is on an adjustable basis the Underwriters shall
         receive the Earned Premium hereon or the pro rata proportion of any Minimum Premium stipulated herein
         whichever is the greater.

         Payment or tender of any Unearned Premium by the Underwriters shall not be a condition precedent to the
         effectiveness of Cancellation but such payment shall be made as soon as practicable.

         If the period of limitation relating to the giving of notice is prohibited or made void by any law controlling the
         construction thereof, such period shall be deemed to be amended so as to be equal to the minimum period of
         limitation permitted by such law.


         20/4/61
         NMA1331




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     U.S.A. & CANADA


     LAND, WATER AND AIR EXCLUSION

     Notwithstanding any provision to the contrary within the Policy of which this Endorsement forms part (or within
     any other Endorsement which forms part of this Policy), this Policy does not insure land (including but not limited to
     land on which the insured property is located), water or air, howsoever and wherever occurring, or any interest or
     right therein.

     SEEPAGE AND/OR POLLUTION AND/OR CONTAMINATION EXCLUSION

     Notwithstanding any provision to the contrary within the Policy of which this Endorsement forms part (or within
     any other Endorsement which forms part of this Policy), this Policy does not insure:

     (a) any loss, damage, cost or expense, or

     (b) any increase in insured loss, damage, cost or expense, or

     (c) any loss, damage, cost, expense, fine or penalty, which is incurred, sustained or imposed by order, direction,
         instruction or request of, or by any agreement with, any court, government agency or any public, civil or
         military authority, or threat thereof, (and whether or not as a result of public or private litigation),

     which arises from any kind of seepage or any kind of pollution and/or contamination, or threat thereof, whether or
     not caused by or resulting from a peril insured, or from steps or measures taken in connection with the avoidance,
     prevention, abatement, mitigation, remediation, clean-up or removal of such seepage or pollution and/or
     contamination or threat thereof.

     The term "any kind of seepage or any kind of pollution and/or contamination" as used in this Endorsement includes
     (but is not limited to):

     (a) seepage of, or pollution and/or contamination by, anything, including but not limited to, any material designated
         as a "hazardous substance" by the United States Environmental Protection Agency or as a "hazardous material"
         by the United States Department of Transportation, or defined as a "toxic substance" by the Canadian
         Environmental Protection Act for the purposes of Part II of that Act, or any substance designated or defined as
         toxic, dangerous, hazardous or deleterious to persons or the environment under any other Federal, State,
         Provincial, Municipal or other law, ordinance or regulation; and

     (b) the presence, existence, or release of anything which endangers or threatens to endanger the health, safety or
         welfare of persons or the environment.

     DEBRIS REMOVAL ENDORSEMENT

     THIS ENDORSEMENT CONTAINS PROVISIONS WHICH MAY LIMIT OR PREVENT RECOVERY UNDER
     THIS POLICY FOR LOSS WHERE COSTS OR EXPENSES FOR DEBRIS REMOVAL ARE INCURRED.

     Nothing contained in this Endorsement shall override any Seepage and/or Pollution and/or Contamination Exclusion
     or any Radioactive Contamination Exclusion or any other Exclusion applicable to this Policy.

     Any provision within this Policy (or within any other Endorsement which forms part of this Policy) which insures
     debris removal is cancelled and replaced by the following:




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     1.   In the event of direct physical damage to or destruction of property, for which Underwriters hereon agree to pay,
          or which but for the application of a deductible or underlying amount they would agree to pay (hereinafter
          referred to as "Damage or Destruction"), this Policy also insures, within the Sum Insured, subject to the
          limitations and method of calculation below, and to all the other terms and conditions of the Policy, costs or
          expenses;

          (a) which are reasonably and necessarily incurred by the Assured in the removal, from the premises of the
              Assured at which the Damage or Destruction occurred, of debris which results from the Damage or
              Destruction; and

          (b) of which the Assured becomes aware and advises the amount thereof to Underwriters hereon within one
              year of the commencement of such Damage or Destruction.

     2.   In calculating the amount, if any, payable under this Policy for loss where costs or expenses for removal of
          debris are incurred by the Assured (subject to the limitations in paragraph 1 above):

          (a) the maximum amount of such costs or expenses that can be included in the method of calculation set out in
              (b) below shall be the greater of US$25,000 (twenty-five thousand dollars) or 10% (ten percent) of the
              amount of the Damage or Destruction from which such costs or expenses result; and

          (b) the amount of such costs or expenses as limited in (a) above shall be added to:

              (i) the amount of the Damage or Destruction; and

              (ii) all other amounts of loss, which arise as a result of the same occurrence, and for which Underwriters
                   hereon also agree to pay, or which but for the application of a deductible or underlying amount they
                   would agree to pay; and

              the resulting sum shall be the amount to which any deductible or underlying amount to which this Policy is
              subject and the limit (or applicable sub-limit) of this Policy, shall be applied.


     24/11/88
     NMA2340




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                             ELECTRONIC DATE RECOGNITION EXCLUSION (EDRE)


     This Policy does not cover any loss, damage, cost, claim or expense, whether preventative, remedial or otherwise,
     directly or indirectly arising out of or relating to:

     (a) the calculation, comparison, differentiation, sequencing or processing of data involving the date change to the
         year 2000, or any other date change, including leap year calculations, by any computer system, hardware,
         programme or software and/or any microchip, integrated circuit or similar device in computer equipment or
         non-computer equipment, whether the property of the Insured or not; or

     (b) any change, alteration, or modification involving the date change to the year 2000, or any other date change,
         including leap year calculations, to any such computer system, hardware, programme or software and/or any
         microchip, integrated circuit or similar device in computer equipment or non-computer equipment, whether the
         property of the Insured or not.

     This clause applies regardless of any other cause or event that contributes concurrently or in any sequence to the
     loss, damage, cost, claim or expense.


     17/12/97
     NMA2802




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                              BIOLOGICAL OR CHEMICAL MATERIALS EXCLUSION


     It is agreed that this Insurance excludes loss, damage, cost or expense of whatsoever nature directly or indirectly
     caused by, resulting from or in connection with the actual or threatened malicious use of pathogenic or poisonous
     biological or chemical materials regardless of any other cause or event contributing concurrently or in any other
     sequence thereto.


     06/02/03
     NMA2962




                                                                                                            Ex. C-1
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                                 LOUISIANA DEPARTMENT OF INSURANCE                                                      SGL1_0038
                                                                     FORM 1263.1
                                                          AUTHORIZED NON-ADMITTED AFFIDAVIT

Approved unauthorized insurers, designated as surplus lines companies, are provided for under the Louisiana Revised Statutes 22§1249 et. seq.
L.R.S. 22§1257 states that certain insurance coverages that cannot be procured from authorized insurers may be procured from unauthorized
insurers provided that the insurance is procured through a licensed surplus lines producer.
Any licensed Louisiana property and casualty producer procuring personal lines coverage from a surplus line company must complete this affidavit
acknowledging that the coverage has been placed with an approved unauthorized insurer through a duly licensed Louisiana surplus lines producer.
After completion, this affidavit must be forwarded to the licensed Louisiana surplus lines producer, who will retain the affidavit as part of the insured's
file. The affidavit must be submitted within thirty days of the effective date of the binder or policy.
A licensed Louisiana property and casualty producer procuring personal lines surplus lines coverage is required to conduct a diligent effort to place
the coverage with an admitted company. The signature of the producer and insured must attest to the results of the diligent effort. The licensed
Louisiana property and casualty producer is also required to expressly advise the insured, in the event of the insolvency of the surplus line company,
CLAIMS OR LOSSES WILL NOT BE PAID BY THE LOUISIANA INSURANCE GUARANTY ASSOCIATION.


                                     LICENSED LOUISIANA PROPERTY AND CASUALTY PRODUCER CERTIFICATION

 As required by L.R.S. 22§1263.1, a diligent effort to place the risk with an admitted company was conducted. The results of the diligent effort are
 as follows:

      Name of Approved Unauthorized Insurer from which the coverage was procured:

      ____________________________________________________________________________________________________________
                                                                              (Insurer’s Name)

 COMPLETION OF THE FOLLOWING THREE CHECK BOXES AND SPACE FOR THE REASON IN CONJUNCTION WITH THE THIRD IS
 MANDATORY:
   The company listed above was on the Approved Unauthorized Insurers List maintained by the Louisiana Department of Insurance the date the
   coverage was procured.

     The company listed above met the requirements of L.R.S. 22:1262 the date the coverage was procured.
     Reason for placing this coverage with an approved unauthorized insurer:
      ___________________________________________________________________________________________________________
      ___________________________________________________________________________________________________________

 Louisiana Surplus Lines Producer’s Name: ____________________________________________________________________________

 Surplus Lines Producer’s Louisiana License Number: _____________________________

 Policy or Binder Number (if available): _________________________________________


 Name of Property & Casualty Producer: ______________________________________________________________________________

 Address: _______________________________________________ City ___________________________ ST ________ Zip _________



 Signature: _________________________________________________________ Date ____________ Phone (                             ) ______________
                                       (Property & Casualty Producer)




                                                                        INSURED’S ATTESTATION

 I acknowledge an approved unauthorized insurer has provided my insurance coverage. I also acknowledge and have been expressly advised by
 the producer above that in the event of insolvency of the approved unauthorized insurer providing my coverage, CLAIMS OR LOSSES WILL NOT BE
 COVERED BY THE LOUISIANA INSURANCE GUARANTY ASSOCIATION.


 Name: ________________________________________ Signature ______________________________________ Date ________________




                     NOTICE
 The language and format of this Form must not be altered.
                                                                                                                                  Ex. C-1
                                                                                                                              FORM 1263.1 (REVISED 2003)
                                                                                                                          May be reproduced for future use
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                                                                                             SGL1_0039

                                   Sanction Limitation and Exclusion Clause

   No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or
   provide any benefit hereunder to the extent that the provision of such cover, payment of such claim or
   provision of such benefit would expose that (re)insurer to any sanction, prohibition or restriction under
   United Nations resolutions or the trade or economic sanctions, laws or regulations of the European Union,
   United Kingdom or United States of America.


   LMA3100
   15 September 2010




                                                                                                     Ex. C-1
